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Case 1:22-cv-00534-WMR Document 1-1 Filed 02/08/22 Page 1 of 7  CLERK OF STATE COURT
                                                            GWINNETT COUNTY, GEORGIA
                                                                       22-C-00092-S6
                                                                    1/6/2022 2:03 PM
                                                                 TIANA P. GARNER, CLERK




                                                        22-C-00092-S6




            6th day of January, 2022




                                                                 EXHIBIT
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        Case 1:22-cv-00534-WMR Document 1-1 Filed 02/08/22 Page 2 of 7                         CLERK OF STATE COUP
                                                                                           GWINNETT COUNTY, GEORGI
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                                                                                                  1/6/2022 2:03 Pl
                                                                                              TIANA P. GARNER,CLER

                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA

 JOSEPH SONG and GRACE SONG,
 Individually and as the natural guardians
 of ELIZABETH SONG,a minor,                            JURY TRIAL DEMANDED

         Plaintiffs,
                                                       CIVIL ACTION 22-C-00092-S6
  V.                                                   FILE NO.

  COSTCO WHOLESALE
  CORPORATION and JANE DOE,

         Defendants.


                                 COMPLAINT FOR DAMAGES

       Plaintiffs Joseph Song and Grace Song, Individually and as the natural guardians of their

child Elizabeth Song,a minor, sue Defendants Costco Wholesale Corporation("Costco")and Jane

Doe, showing as follows:

                                 PRELIMINARY STATEMENT

                                                  1.

       Plaintiffs Joseph Song and Grace Song bring this negligence action to recover the damages

their minor child, Elizabeth Song, sustained when an employee of the Costco Wholesale

Warehouse in Buford, Georgia, suddenly and without warning pulled the shopping cart that

Elizabeth was in, causingler to lose her balance and fall. Defendant occupies, owns, and operates

the subject Warehouse location and employs Jane Doe who caused Elizabeth's injuries.

Defendants are liable to Plaintiffs for their negligence in injuring their child and in failing to keep

the premises safe.
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                           PARTIES,JURISDICTION, AND VENUE

                                                  2.

       Plaintiffs Joseph Song and Grace Song are over the age of 18 and reside in Gwinnett

County, Georgia, at 633 White Street, Suwanee, GA 30024.

                                                  3.

       Defendant Costco Wholesale Corporation is a foreign corporation authorized to do

business in the State of Georgia with its registered agent designated as CT Corporation System,

located at 289 South Culver Street, Lawrenceville, GA 30046. Defendant may be served at this

address by leaving a copy of the Summons and Complaint with its registered agent, CT

Corporation System. When service of process is made pursuant to 0.C.G.A. § 9-11-4, Defendant

shall be subject to the jurisdiction of this Court.

                                                  4.

       Defendant Jane Doe is the Costco employee who injured Plaintiff at the subject Costco

Wholesale Warehouse location in Buford, GA. Doe may be served with process as law allows.

                                                  5.

       The negligent acts and omissions giving rise to this claim occurred at Defendant Costco's

warehouse located at 1550 Mall of Georgia Boulevard, Buford, GA 30519 in Gwinnett County.

                                                  6.

       The Court has subject matter jurisdiction over this civil action for damages arising from

Defendants' negligence and personal jurisdiction over Defendants.




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                                                7.

       Venue in this Court is proper pursuant to 0.C.G.A. § 14-2-510(b)(1) & (3) because the

cause of action originated in this county, and Defendant Costco maintains its registered office in

this County and has an office and transacts business in this County.

                                             FACTS

                                                8.

       Plaintiffs reallege and incorporate by reference the foregoing paragraphs as if they were

fully restated verbatim herein.

                                                9.

       At all relevant times, Defendant Costco occupied, owned, and operated the Costco

Wholesale Warehouse at 1550 Mall ofGeorgia Boulevard,Buford,GA 30519 in Gwinnett County.

                                                10.

       On October 10, 2021, Plaintiffs Joseph Song and Grace Song were shopping at the Buford

Costco Wholesale Warehouse.

                                                11.

       As Plaintiffs were checking out, a Costco employee suddenly and without warning pulled

the shopping cart that Elizabeth Song was in, causing her to lose her balance and fall.

                                                12.

       As a direct and proximate result of Defendants' negligence, Elizabeth Song sustained

serious physical injuries, pain and suffering, and mental and emotional distress. She underwent

surgery for a supracondyle humerus fracture and has incurred medical expenses for treatment

received for her injuries.

             PLAINTIFFS' NEGLIGENCE CLAIM AGAINST DEFENDANTS
               COSTCO WHOLESALE CORPORATION AND JANE DOE



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                                               13.

       Plaintiffs reallege and incorporate by reference the foregoing paragraphs as if they were

fully restated verbatim herein.

                                               14.

       Defendant Costco occupied, owned, and operated the premises where Elizabeth Song

sustained her injuries.

                                               15.

       Elizabeth Song was an invitee on the premises.

                                               16.

       Defendants owed Elizabeth Song a duty to exercise ordinary care in keeping the premises

safe and in not injuring her.

                                               17.

       Defendant Jane Doe breached that duty by failing to exercise ordinary care when she

suddenly and without warning pulled the shopping cart that Elizabeth Song was in.

                                               18.

       Defendant Costco breached its duties by, among other things, failing to exercise ordinary

care in training and supervising its employees including Defendant Jane Doe in not suddenly and

unexpectedly moving its customers' carts when minors are inside. Defendant Costco further failed

to promulgate and enforce rules to protect its minor customers.

                                               19.

       Defendants are liable for other negligent conduct as may be shown by the evidence at trial.




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                                                  20.

       Defendant Costco is vicariously liable for Defendant Jane Doe's negligence as Defendant

Jane Doe was acting in the course and scope of her employment for Defendant Costco.

                                                 21.

       Defendants' negligence directly and proximately caused Elizabeth Song's injuries and

damages.

                                                 22.

       As a direct and proximate result of Defendants' negligence, Elizabeth Song has sustained -

physical injuries, and has experienced pain, suffering, and mental and emotional distress.

Additionally, Plaintiffs Joseph Song and Grace Song, as Elizabeth's parents, have incurred special

damages,including medical expenses. As a result, Plaintiffs are entitled to an award of special and

general damages in an amount to be proven at trial.


                                     PRAYER FOR RELIEF

       WHEREFORE,Plaintiffs respectfully pray and demand as follows:

       1.      That Process and Summons issue, as provided by law, requiring Defendants to

               appear and answer Plaintiffs' Complaint;

       2.      That service be had upon Defendants as provided by law;

       3.      That Plaintiffs recover for all medical expenses and all of the items of special

               damages in an amount to be proven at trial;

       4.      That Plaintiffs recover general damages in an amount to be proven at trial for

               Elizabeth Song's non-economic damages;

       5.      That Plaintiffs have a trial by a jury as to all issues;

       6.      That all costs be cast against Defendants; and



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       7.     That Plaintiffs have such other and further relief as the Court may deem just and

              proper.

       This 6th day of January, 2022.

                                           Respectfully submitted,

                                           THE CHAMPION FIRM,P.C.




                                           By:
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                                           Georgia Bar No. 588961
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